                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                             DOCKET NO.: 5:06CR35

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
vs.                                       )
                                          )                         ORDER
(11) ROBERT PAUL CANNON,                  )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT on the Motion to Withdraw Notice of

Intention to Seek Enhanced Penalties filed by the government on September 9, 2006 (Document No.

133). For good cause shown, the Motion is hereby GRANTED, and the government’s notice of

intention to seek enhanced penalties pursuant to 21 U.S.C. §851 is deemed withdrawn.



                                              Signed: September 15, 2006




   Case 5:06-cr-00035-KDB-DCK           Document 138       Filed 09/15/06     Page 1 of 1
